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                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York
BTK                                             610 Federal Plaza
F. #2022R00347                                  Central Islip, New York 11722



                                                September 19, 2024

By ECF

The Honorable Nusrat J. Choudhury
United States District Court
100 Federal Plaza
Central Islip, NY 11722

             Re:    United States v. Carmine G. Agnello
                    24-CR-366 (NJC)

Dear Judge Choudhury:

               Pursuant to Federal Rule of Criminal Procedure 36, with the defendant’s
consent and following consultation with the Clerk’s Office, the government moves to amend
the previously filed Notice of Motion, Information Sheet and the Docket in the above-
captioned case to set forth the defendant’s name as “CARMINE G. AGNELLO.” This name
will be reflected on the Information that will be filed in this case on September 26,
2024. The failure to include the defendant’s middle initial, which will assist in better
identifying him and avoiding confusion with another defendant, who was previously charged
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in an unrelated federal prosecution, was an inadvertent oversight that can be corrected “at
any time” under Federal Rule of Criminal Procedure 36. See Fed. R. Crim. P. 36 (“[T]he
court may at any time correct a clerical error in a judgment, order, or other part of the record,
or correct an error in the record arising from oversight or omission.”); United States v.
Jacques, 6 F.4th 337, 341 (2d Cir. 2021) (citing Marmolejos v. United States, 789 F.3d 66,
68 (2d Cir. 2015) and explaining that under Rule 36 correctable “[c]lerical errors include
such mistakes as . . . the misspelling of the defendant's name.”).

             Revised copies of the Notice of Motion and Information Sheet are attached.
Thank you for consideration of this request.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:    /s/Bradley T. King
                                                    Bradley T. King
                                                    Assistant U.S. Attorney
                                                    (631) 715-7875


Attachments
cc:   James Frocarro, Esq. (by ECF and E-mail)




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